 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                             Western District of Washington

 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              N 83rd Properties LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   8      7 – 1    9   1    9   3    9   7
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business




                                                   9375 E Shea Blvd                                            300 S Highland Springs Ave
                                                   Number          Street                                      Number        Street

                                                   Scottsdale, AZ 85260-6986                                   Banning, CA 92220-6508
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Maricopa                                                    place of business
                                                   County




                                                                                                               Number        Street



                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                    Case 24-10399-CMA                        Doc 1          Filed 02/22/24         Ent. 02/22/24 17:07:16               Pg. 1 of 16
Debtor      N 83rd Properties LLC                                                                            Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    5     3   1   1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                   ❑
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.
                                                                                                           MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                        MM / DD / YYYY
                                                         Case number, if known



Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                    Case 24-10399-CMA                  Doc 1        Filed 02/22/24           Ent. 02/22/24 17:07:16                  Pg. 2 of 16
Debtor        N 83rd Properties LLC                                                                      Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ✔ $1,000,001-$10 million
                                                                             ❑                                         ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
                    Case 24-10399-CMA              Doc 1        Filed 02/22/24           Ent. 02/22/24 17:07:16                  Pg. 3 of 16
Debtor        N 83rd Properties LLC                                                                            Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                         ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     02/22/2024
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Daryle J. Rutherford                                                           Daryle J. Rutherford
                                                   Signature of authorized representative of debtor                 Printed name


                                                   Title             Managing and Sole Member



         18. Signature of attorney
                                               ✘                     /s/ Kathryn P. Scordato                        Date      02/22/2024
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY



                                                    Kathryn P. Scordato
                                                   Printed name

                                                    Scordato Law, PLLC
                                                   Firm name

                                                    PO Box 1962
                                                   Number          Street


                                                    Seattle                                                            WA              98111-1962
                                                   City                                                               State            ZIP Code



                                                    (206) 223-9595                                                      kathryn@scordatolaw.com
                                                   Contact phone                                                       Email address



                                                    41922                                                               WA
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                    Case 24-10399-CMA                  Doc 1         Filed 02/22/24              Ent. 02/22/24 17:07:16                    Pg. 4 of 16
 Fill in this information to identify the case:

 Debtor name                             N 83rd Properties LLC

 United States Bankruptcy Court for the:
                             Western District of Washington

 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ✔
         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ✔
         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     02/22/2024
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Daryle J. Rutherford
                                                                                Signature of individual signing on behalf of debtor


                                                                                Daryle J. Rutherford
                                                                                Printed name


                                                                                Managing and Sole Member
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 24-10399-CMA                   Doc 1        Filed 02/22/24            Ent. 02/22/24 17:07:16                   Pg. 5 of 16
 Fill in this information to identify the case:

 Debtor name                                           N 83rd Properties LLC

 United States Bankruptcy Court for the:
                                       Western District of Washington

 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                       amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                          12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                       $5,899,000.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                               $0.00

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                        $5,899,000.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                        $5,776,689.16



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                  $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                            +                  $0.00




 4. Total liabilities..............................................................................................................................................................................                     $5,776,689.16

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                             page 1
                         Case 24-10399-CMA                                     Doc 1              Filed 02/22/24                         Ent. 02/22/24 17:07:16                                       Pg. 6 of 16
 Fill in this information to identify the case:

 Debtor name                             N 83rd Properties LLC

 United States Bankruptcy Court for the:
                             Western District of Washington

 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Bal and Govindamma Goundar                                              Second Mortgage                           $1,170,000.00      $2,600,000.00          $341,547.47
      14915 57th Ave S
      Tukwila, WA 98168-4522


2     City of Kent                                                            Utility Lien                                   $1,563.83     $2,600,000.00            $1,563.83
      Attn: Customer Services
      220 4th Ave S
      Kent, WA 98032-5838

3




4




5




6




7




8




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
                     Case 24-10399-CMA                   Doc 1         Filed 02/22/24             Ent. 02/22/24 17:07:16                   Pg. 7 of 16
Debtor       N 83rd Properties LLC                                                                            Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
                    Case 24-10399-CMA                Doc 1         Filed 02/22/24             Ent. 02/22/24 17:07:16                  Pg. 8 of 16
B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                             Western District of Washington

In re        N 83rd Properties LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        ❑ FLAT FEE
        For legal services, I have agreed to accept ................................................................................................................................................

        Prior to the filing of this statement I have received ................................................................................................................................................

        Balance Due ................................................................................................................................................

        ✔ RETAINER
        ❑
        For legal services, I have agreed to accept and received a retainer of ............................................................................................................................

        The undersigned shall bill against the retainer at an hourly rate of ..................................................................................................................................
                                                                                                                                                               $350.00
        [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved fees and
        expenses exceeding the amount of the retainer.

2.                $1,738.00                 of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
5.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;




                                                                                                  Page 1 of 2




              Case 24-10399-CMA                                  Doc 1             Filed 02/22/24                      Ent. 02/22/24 17:07:16                          Pg. 9 of 16
B2030 (Form 2030) (12/15)


      b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:

      The Engagement Agreement does not include the following services:
      a. Representation of the Debtor in Adversary Proceedings of any kind
      b. Responding to and/or Representation at Bankruptcy Rule 2004 Examinations
      c. Preparation and/or Review of Reaffirmation Agreements
      d. Services Related to Recovery of Garnished Funds and/or Motions or Adversary Proceedings for Turnover of Estate Property
      e. Judgment Lien Avoidance or Lien Stripping
      f. Reopening of the closed Bankruptcy Case for any reason
      g. Any other miscellaneous motion or adversary matter not described above.



      A total of $2,500.00 was paid on 2/22/2024 by the Debtor prior to filing for all pre-petition services. Post-petition, Debtor has agreed to
      deposit $7,500.00 into the firm's IOLTA as retainer for these proceedings to be applied against the post-petition services rendered and
      subject to approval by this Court.


                                                                CERTIFICATION

                         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                 me for representation of the debtor(s) in this bankruptcy proceeding.

                          02/22/2024                                             /s/ Kathryn P. Scordato
                 Date                                           Kathryn P. Scordato
                                                                Signature of Attorney
                                                                                                    Bar Number: 41922
                                                                                                   Scordato Law, PLLC
                                                                                                          PO Box 1962
                                                                                                Seattle, WA 98111-1962
                                                                                                 Phone: (206) 223-9595

                                                                                   Scordato Law, PLLC
                                                                Name of law firm




                                                                     Page 2 of 2




           Case 24-10399-CMA                Doc 1        Filed 02/22/24            Ent. 02/22/24 17:07:16              Pg. 10 of 16
                                                   United States Bankruptcy Court
                                                     Western District of Washington

In re   N 83rd Properties LLC                                                                      Case No.
                                                                          Debtor(s)                Chapter                     11



                                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or recusal, the
undersigned counsel for                N 83rd Properties LLC                in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests, or states that there are no entities to report under FRBP 7007.1:




✔ None [Check if applicable]
❑


             02/22/2024                                           /s/ Kathryn P. Scordato
Date                                              Kathryn P. Scordato
                                                  Signature of Attorney or Litigant
                                                  Counsel for         N 83rd Properties LLC
                                                  Bar Number: 41922
                                                  Scordato Law, PLLC
                                                  PO Box 1962
                                                  Seattle, WA 98111-1962
                                                  Phone: (206) 223-9595
                                                  Email: kathryn@scordatolaw.com




                                                                          1




           Case 24-10399-CMA                  Doc 1       Filed 02/22/24           Ent. 02/22/24 17:07:16               Pg. 11 of 16
                                     UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF WASHINGTON
                                             SEATTLE DIVISION

IN RE:                                                                               CHAPTER 11
N 83rd Properties LLC

DEBTOR(S)                                                                            CASE NO


                                      LIST OF EQUITY SECURITY HOLDERS

Registered Name of Holder of Security               Class of Security          Number Registered            Kind of Interest
Last Known Address or Place of Business                                                                     Registered

Daryle J. Rutherford                                                                                        Managing and Sole
300 S Highland Springs Ave, Ste 6C244                                                                       Member
Banning, CA 92220

                                  DECLARATION UNDER PENALTY OF PERJURY
                                ON BEHALF OF A CORPORATION OR PARTNERSHIP

  I, the             Managing and Sole Member               of the                 Nonpublic Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true
and correct to the best of my information and belief.



Date: 02/22/2024                                     Signature: /s/ Daryle J. Rutherford
                                                                 Daryle J. Rutherford, Managing and Sole Member




            Case 24-10399-CMA           Doc 1    Filed 02/22/24         Ent. 02/22/24 17:07:16          Pg. 12 of 16
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF WASHINGTON
                                                            SEATTLE DIVISION

IN RE: N 83rd Properties LLC                                                          CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      02/22/2024            Signature                               /s/ Daryle J. Rutherford
                                                            Daryle J. Rutherford, Managing and Sole Member




       Case 24-10399-CMA                    Doc 1       Filed 02/22/24           Ent. 02/22/24 17:07:16                 Pg. 13 of 16
                            Archwest Brokerage Corp
                            19800 Macarthur Blvd Ste 1150
                            Irvine, CA 92612-8445




                            AZ Office of the Attorney
                            General
                            Attn: Bankruptcy Unit
                            2005 N Central Ave
                            Phoenix, AZ 85004-1592


                            Bal and Govindamma Goundar
                            14915 57th Ave S
                            Tukwila, WA 98168-4522




                            CA Office of the Attorney
                            General
                            Attn: Bankruptcy Unit
                            600 W Broadway Ste 1800
                            San Diego, CA 92101-3375


                            CA TD Specialists
                            8190 E Kaiser Blvd
                            Anaheim, CA 92808-2215




                            City of Kent
                            Attn: Customer Services
                            220 4th Ave S
                            Kent, WA 98032-5838



                            FCI Lender Services, Inc.
                            8180 E Kaiser Blvd
                            Anaheim, CA 92808-2277




                            Fidelis Residential Bridge
                            Loan Venture VI LP
                            12131 113th Ave NE Ste 201
                            Kirkland, WA 98034-6946




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                            Internal Revenue Service
                            Po Box 7346
                            Philadelphia, PA 19101-7346




                            King Co. Treasury
                            201 S Jackson St Ste 710
                            Seattle, WA 98104-3854




                            Maricopa Co. Treasurer
                            301 W Jefferson St Ste 100
                            Phoenix, AZ 85003-2199




                            Pierce County Finance
                            PO Box 11621
                            Tacoma, WA 98411-6621




                            Profin, Inc.
                            2333 Camino Del Rio S Ste 150
                            San Diego, CA 92108




                            Rain City Capital, LLC
                            12131 113th Ave NE Ste 201
                            Kirkland, WA 98034-6946




                            San Diego County Treasurer
                            1600 Pacific Hwy Rm 162
                            San Diego, CA 92101-2477




                            Trustee Corps
                            606 W Gowe St
                            Kent, WA 98032-5744




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                            US Attorney's Office
                            Attn: Bankruptcy Assistant
                            700 Stewart St Room 5220
                            Seattle, WA 98101



                            WA Office of the Attorney
                            General
                            Bankruptcy & Collections Unit
                            800 5th Ave Ste 2000
                            Seattle, WA 98104-3188




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